Case 2:05-cV-02280-.]PI\/|-de Document 6 Filed 07/15/05 Page 1 of 2 Page|D 3

IN THE UNI‘I'ED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENN'ESSEE H_E) BY D.C.
WESTERN DIVISION z

 

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.011-;111:113_1) 31333 21 cum
Pla.intiffs, WfB 1011 ; :\m;j.,‘:§>§-§S

v.
No. 05-2280 Ml/V
FRED PHILLIPS, in his official

capacity as Commissioner of the
Tennessee Departmant of Safety,

Defendant.

 

ORDER TO SHOW CAUSE

 

Before the Court is Defendant's Motion for Summary Judgment,
filed May 9, 2005. Under Local Rule 7.2(a)(2) and Fed. R. Civ.
P. 6, a response to the motion was due on or before June 7, 2005.
To date, Plaintiff has not filed a response. Accordingly,
Plaintiff is hereby ORDERED to SHOW CAUSE within ten (lO) days of
the date of entry of this Order why Defendant's motion should not
be granted.l

Failure to respond to this Order to Show Cause in a timely

manner may result in the Court granting Defendant's Motion for

Summary Judgment.

so osDERED this ij day of July, 2005.

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J P. MCCALLA
ITED S’I‘ATES DISTRICT JUDGE

 

 

l To comply with this Order, Plaintiff must file a written
response to the Motion for Su.mmary Juc'lg'ment.

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with Hule 55 and/or 79(a) FF\CP on

 

ESTNER 1

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CV-02280 Was distributed by faX, mail, or direct printing on
July ]5, 2005 to the parties listed.

 

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Honorable J on McCalla
US DISTRICT COURT

